Case 1:17-cv-02989-AT Document 1793-11 Filed 01/22/24 Page 1 of 14




           EXHIBIT 11
     Case 1:17-cv-02989-AT Document 1793-11 Filed 01/22/24 Page 2 of 14



                                                                       Page 1

1                IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
2                          ATLANTA DIVISION
3
4
      Donna Curling, et al.,
5
                          Plaintiffs,
6                                                  CIVIL ACTION FILE
                    vs.
7                                                  NO. 1:17-cv-02989-AT
      Brad Raffensberger, et
8     al.,
9                   Defendants.
      ~~~~~~~~~~~~~~~~~~~~~~~~~~
10
11
12
                       VIDEO 30(b)(6) DEPOSITION OF
13                         SECRETARY OF STATE
                                 THROUGH
14                       ROBERT GABRIEL STERLING
15
16                              October 12, 2022
17                                 9:26 a.m.
18
19
                    Suite 3250, One Atlantic Center
20                      1201 W. Peachtree Street
                            Atlanta, Georgia
21
22
23
24
                      S. Julie Friedman, CCR-B-1476
25

                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 1:17-cv-02989-AT Document 1793-11 Filed 01/22/24 Page 3 of 14



                                                                      Page 196

1    of this year, was the Elections Director in Coffee
2    County, right?
3           A.        I believe that's correct.                Yes.
4           Q.        And Mr. Patel, does he work in CES?
5           A.        He does work at CES.              He's one of our --
6    one, two -- three main ballot builders before.                            I
7    mean, that's right, I guess.
8           Q.        One of the ballot builders?
9           A.        Ballot builders and CES employees, yes.
10          Q.        I see.      So and I was going to ask you.
11   What is Mr. Patel's role or responsibilities in CES?
12          A.        He is a ballot builder.
13          Q.        Okay.      But Mr. Patel was also involved in
14   replacing the EMS server --
15          A.        Uh-huh.
16          Q.        -- and ICC in June of last year, right?
17          A.        Part of the role of CES is they kind of
18   become our in-house experts on the equipment and
19   ballot building and all -- all the processes around
20   it, so this would fall under the scope of that.                               He
21   would do that.
22                    It's just a internal term of art.                      When
23   you work at CES, you're a ballot builder basically.
24   That's how we refer to them unless you're in the
25   warehouse.         You're a warehouse guy kind of thing.

                                   Veritext Legal Solutions
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 1:17-cv-02989-AT Document 1793-11 Filed 01/22/24 Page 4 of 14



                                                                       Page 197

1            Q.        How many ballot builders are there?
2            A.        If memory severs, there's four that are
3    State employees and two that are contract employees
4    right now.
5            Q.        Contract employees contracted by the
6    State?
7            A.        Correct.      And these contracts are direct,
8    are through a State contract.                  They hired -- it's
9    a -- it's a --
10                     There are two state contracts for
11   temporary employees specifically.                    A third, if you
12   include IT employees; and they are paid through one
13   of those three.           I can't remember which one it is.                  I
14   would I want to say it's --                 It's either CAI or focus
15   or corporate.          But, again, they're just --
16                     It's enough to say modeling used to -- for
17   accounting to pay for contract employees, as opposed
18   to making them full employees, because full employees
19   are very expensive because there's a 63 percent
20   burden on their --             For every dollar you spend on
21   their salary, it's 63 cents additional to employ
22   them.
23           Q.        Okay.     Do they do the ballot building
24   physically on site at the Secretary's Office or where
25   do they do it?

                                    Veritext Legal Solutions
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 1:17-cv-02989-AT Document 1793-11 Filed 01/22/24 Page 5 of 14



                                                                       Page 198

1            A.        They do it at the Center for Elections
2    office, which is near the Braves stadium up and off
3    Interstate 120.
4            Q.        So here Miss Roberts for Coffee County
5    reaches out in April of this year and says can you
6    please send me a letter on your letterhead stating
7    that your server is in your possession.                       Please
8    include why and when it was changed out.                       Do you see
9    that?
10           A.        Yes.
11           Q.        Do you know why Miss Roberts is reaching
12   out to the Secretary's Office for that letter on
13   April 1st of this year?
14           A.        I vaguely recall.           I -- I --       I don't want
15   to speculate.            I think it was something around their
16   elections board wanted to understand why.
17                     And, also, they say their server.
18   Technically, they're all the State's servers; but
19   they are held and used by those counties.                        I just
20   want to make that clarification.
21                     I believe that's what it was; but, again,
22   this was April of '22.               And, again, it was no big
23   deal to say the password didn't work.                      We changed it
24   out.     Normal processes.
25           Q.        When you say that the -- the -- the State

                                    Veritext Legal Solutions
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 1:17-cv-02989-AT Document 1793-11 Filed 01/22/24 Page 6 of 14



                                                                      Page 199

1    servers, but they're held and used by the counties,
2    what does that mean?
3           A.        The State retains ownership of all
4    equipment unless, as in some counties, some large
5    counties buy their own equipment.                   They --      They own
6    that equipment, but we still have to have -- go
7    through state acceptance and certification on those
8    pieces of equipment.
9           Q.        So the EMS server that was taken and the
10   ICC in the summer of last year from Coffee County,
11   that is and has always been owned by the Secretary's
12   Office or by the State?
13          A.        Once it was purchased and accepted, yes.
14          Q.        Okay.     All right.        Is that true for the
15   new equipment?           The State owns that, too?
16          A.        Correct.      All the equipment, not just the
17   ICC and the --           Everything that we changed out, the
18   States retains ownership of those items.
19          Q.        Okay.     Do you know why this -- the Coffee
20   County office did not already have any documentation
21   on the EMS server and the ICC being replaced in June
22   of 2021?
23          A.        I don't know that they didn't, or they may
24   be not be able to find it since they went through
25   three elections directors -- I guess two elections --

                                   Veritext Legal Solutions
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 1:17-cv-02989-AT Document 1793-11 Filed 01/22/24 Page 7 of 14



                                                                       Page 200

1    Oh, an initial director election passed this time, so
2    I don't know what they did or didn't have, but they
3    probably wanted to have this as a belt and
4    suspenders.
5                      Again, I'm making a supposition, so I
6    apologize, but I --
7                      MR. TYSON:        Yeah.     And don't --        Don't
8            guess.
9            Q.        (By Mr. Cross)         Yeah.      If you don't -- if
10   you don't know --
11           A.        Well, I -- I couldn't suppose for certain.
12           Q.        Sure.     Okay.     Well, do you know why the
13   Secretary's Office does not have any documentation
14   regarding replacing that server and the ICC other
15   than the logic and accuracy report that we received?
16           A.        And the logic and accuracy report, that's
17   all you really need to know.                  It's changed out.           It's
18   a new piece of equipment there with the L&A on it.
19   It was put there.            We have the time.            We have the
20   date.
21           Q.        But the chain of custody of voting
22   equipment, maintaining that chain of custody is
23   critically important, right?
24           A.        Yes.
25           Q.        And so does the State not have any

                                    Veritext Legal Solutions
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 1:17-cv-02989-AT Document 1793-11 Filed 01/22/24 Page 8 of 14



                                                                      Page 201

1    policies or practices to require documenting when it
2    replaces voting equipment in the county other than
3    just an L&A report?
4           A.        I don't know off the top of my head on
5    that one, quite honestly.               I mean, I did
6    demonstration for voting equipment for a media the
7    other day.        We had to sign all the paperwork to take
8    it from one building to another.
9                     So, I mean, I know we do have paperwork on
10   those fronts; and I don't know if it would be the
11   same as it would for a complete switch out or not.                          I
12   just don't know off the top of my head.
13          Q.        If you wanted to know, who would you ask?
14          A.        I would ask Michael Barnes.
15                    MR. TYSON:       You want us to check on that
16          at a break?
17          Q.        (By Mr. Cross)         Sure.
18                    MR. TYSON:       Okay.
19                    MR. CROSS:       Thank you.
20          Q.        (By Mr. Cross)         And then if you come up to
21   the most recent e-mail where we started, Mr. --
22          A.        The first page on --
23          Q.        Yes.
24          A.        The first page.          Okay.
25          Q.        -- Mr. Germany's e-mail, to Steven Ellis,

                                   Veritext Legal Solutions
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 1:17-cv-02989-AT Document 1793-11 Filed 01/22/24 Page 9 of 14



                                                                      Page 203

1    that fills that role at Hall Booth?
2                     MR. TYSON:       And I'll object to scope.
3                     You can answer if you know.
4                     THE WITNESS:        I believe that's correct.
5           Yes.
6           Q.        (By Mr. Cross)         For example, it was Tony
7    Rowell that was in the meeting with Misty Hampton
8    December of 2020.           Do you remember that?
9           A.        Yes.
10          Q.        And then it --         Here, it's a reference to
11   her.
12                    Do you know if Mr. Germany reached out to
13   Jennifer Herzog?
14          A.        I believed that --           Prompting my memory --
15          Q.        Okay.
16          A.        -- that is name of the person whose
17   talking to.        Yes.
18          Q.        Has there been any consideration or
19   investigation either by or at the direction of the
20   Secretary's Office into whether any of the Coffee
21   County attorneys were aware of the -- the breach in
22   January of 2021 shortly after or -- or at the time
23   that it happened?
24                    MR. TYSON:       I'll object to scope.
25                    If --     If you know, and don't disclose

                                   Veritext Legal Solutions
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 1:17-cv-02989-AT Document 1793-11 Filed 01/22/24 Page 10 of 14



                                                                      Page 204

1           about the investigation.
2                     THE WITNESS:        I couldn't speak to that.
3           Q.        (By Mr. Cross)         'Cause --        'Cause you
4     don't know?
5           A.        I don't.
6           Q.        Okay.
7           A.        Yeah.     Sorry.      Yeah.
8           Q.        I just want to make sure it wasn't -- it
9     wasn't like a privilege thing.                 You just don't know?
10          A.        I just don't know.
11          Q.        Okay.     If --     If you wanted to know, who
12    would you ask?
13          A.        One of three people, either Ryan Germany,
14    Steven Ellis, or Sara Koth.
15                    MR. TYSON:        Or the GBI?
16                    THE WITNESS:        Or the GBI.         But at this --
17          at this point, it would have been an earlier
18          period of time.           This was well before the GBI
19          was involved.
20          Q.        (By Mr. Cross)         Right.      Okay.     So we
21    talked about the password change that was changed on
22    December 14 and --           And that was a directive from the
23    Secretary's Office.
24                    Are --     Are you aware that James Barnes
25    testified that his understanding was that

                                   Veritext Legal Solutions
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 1:17-cv-02989-AT Document 1793-11 Filed 01/22/24 Page 11 of 14



                                                                      Page 205

1     county-level officials actually don't have
2     administrative rights to change a password?
3           A.        I'm aware that was his testimony, but I
4     believe that is incorrect.
5           Q.        Okay.     So the password change that
6     occurred on December 14, is it the Secretary's Office
7     understanding that Misty Hampton did that, or they --
8     they don't know for sure who did it?
9           A.        We don't know.         We only know is that
10    someone in that office who had the existing password
11    went on and changed that password, so we can't speak
12    if it was Misty, her daughter, or some other
13    employee.
14          Q.        Since the Secretary's Office thought that
15    the password should be changed after the YouTube
16    video came, why wasn't it the practice of the
17    Secretary's Office to make that change itself or to
18    oversee that change with whoever would handle that?
19          A.        I couldn't speak to that specifically.
20                    Generally speaking, the board of elections
21    directors.       Counties run elections and --
22          Q.        All right.
23          A.        And, generally speaking, the Secretary of
24    State's Office says to do something, they generally
25    do it, because they don't want to go before the State

                                   Veritext Legal Solutions
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 1:17-cv-02989-AT Document 1793-11 Filed 01/22/24 Page 12 of 14



                                                                      Page 206

1     Election Board for having done something wrong.
2           Q.        Does the --        Since the Secretary's Office
3     owns the equipment in Coffee County in particular, is
4     the -- is -- is it supposed to have all of the
5     passwords to that equipment so that it has its own
6     access?
7           A.        Generally speaking, yes.
8           Q.        And is it my understanding that when the
9     password was changed on December 14 at the
10    Secretary's direction, is it your understanding
11    whatever that password became was ever shared with
12    your office?
13          A.        That is my understanding.               Yes.
14          Q.        And what is that based on?
15          A.        That when James Barnes called Michael
16    Barnes, no relation, to -- to see if you have a
17    different password than what I have sitting here, he
18    had the same one; and there has been --                     There's no
19    indication that we ever got the information that it
20    was changed.
21          Q.        Do you know whether the password that
22    James Barnes was trying to use and that Michael
23    Barnes had -- was that what the Secretary's Office
24    believed to be the EMS server password prior to
25    December 14th?

                                   Veritext Legal Solutions
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 1:17-cv-02989-AT Document 1793-11 Filed 01/22/24 Page 13 of 14



                                                                      Page 207

1           A.        That was my understanding.
2           Q.        Is that from Mr. Barnes?
3           A.        Well, from Michael, yes.
4           Q.        From Michael, yeah.
5                     And so when --
6                     THE WITNESS:        Hold on.
7                     MR. CROSS:       Sorry.
8                     THE COURT REPORTER:            Okay.
9           Q.        (By Mr. Cross)         And so when the
10    Secretary's Office took possession of the EMS
11    server -- took possession of the EMS server in June
12    of 2021, the password that Mr. -- that Michael Barnes
13    had did not work?
14          A.        Correct.
15          Q.        And at some point this year, the
16    Secretary's Office got access to that server through
17    Mr. Persinger's work?
18          A.        I wouldn't say the Secretary's Office got
19    access to it.          Mr. Persinger got access to it.
20          Q.        But he's working at the direction of the
21    Secretary's Office?
22          A.        Yes.     Well, through the attorney.               I don't
23    know how to define the relationship, but through the
24    attorneys' offices, yes.
25          Q.        And I know we talked about this before.

                                   Veritext Legal Solutions
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
     Case 1:17-cv-02989-AT Document 1793-11 Filed 01/22/24 Page 14 of 14



                                                                     Page 435

1                           C E R T I F I C A T E
2
3
4     STATE OF GEORGIA:
5     COUNTY OF FULTON:
6
7                    I hereby certify the foregoing transcript
8           was taken down, as stated in the caption, and
9           the questions and answers thereto were reduced
10          to typewriting under my direction; that the
11          foregoing pages 1 through 434 represent a true,
12          complete, and correct transcript of the evidence
13          given upon said hearing, and I further certify
14          that I am not of kin or counsel to the parties
15          in the case; am not in the regular employ of
16          counsel for any of said parties; nor am I in
17          anywise interested in the result of said case.
18                   This, the 17th day of October, 2022.
19
20
                                        S. JULIE FRIEDMAN, CCR-B-1476
21
22
23
24
25

                                  Veritext Legal Solutions
                215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
